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                        EXHIBIT A
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                 Court Admissions - Andrew Frackman

                 Court                        Date of    Bar Number
                                              Admission
New Jersey                                    1989         035421988
New York                                      1982         1751288
US Supreme Court                              9/18/1989
US Court of Appeals, Second Circuit           5/13/1982
US Court of Appeals, Third Circuit            11/16/1989
US Court of Appeals, Fourth Circuit           3/19/1997
US Court of Appeals, Ninth Circuit            1/1/2009
US District Court, New Jersey                 8/1/1989
US District Court, New York Eastern           3/5/1982
US District Court, New York Northern          8/24/2017
US District Court, New York Southern          5/4/1982
US District Court, Utah                       3/4/2022
US Tax Court                                  3/5/1990
